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\(`,;:3 Petition on Probation and Supervised Release

.r,

COMES NOW Dawn Brown PROBATION OFFICER OF THE COURT
report upon the conduct and attitude of Nicholas D. Williarns who was placed on supervision by the Honorable

 

Thomas A. Higgins sitting in the Court at Mernphis, 'I'N on the _Qt_h_ day ofMay , 2002 who fixed the period of
supervision at five 151 years*, and imposed the general terms and conditions theretofore adopted by the Court and
also imposed Specia] Conditions and terms as follows:

1. The defendant is prohibited from owning, maintaining, possessing, or using firearms, dangerous
weapons or ammunition.
2. The defendant shall participate in a substance abuse treatment programs as directed by the Probation

Offiee.

3. The defendant shall file timely, accurate and lawful income tax returns, including all relevant
schedules and provide a copy of same within five (5) days of the date of filing to the U.S. Probation
Offiee.

4. The defendant shall furnish all financial records, including but not limited to earning records and tax
returns, to the U.S. Probation Office upon request.

5. The defendant shall pay any remaining restitution due at the time supervision commences in regular
monthly installments of not loss than 10% of his gross monthly earnings.

6. If the defendant is unable to secure full-time employment within the first 30 days of supervision, he

may be required to participate in a job/vocational training program at the direction of the U.S.
Probation Offiee and to obtain his GED.
7. The defendant shall make restitution in the amount of $1,643.25. (Balance: $1,638.25)

*Supervised Release began on February 21, 2003

RESPECTFULLY PRESENTING PETI'I`ION FOR AC'I`ION OF COURT FOR CAUSE AS FOLLOWS:
SEE ATTACHED

PRAYlNG THAT THE COURT WILL ()RDER a WARRANT be issued for Nicholas D. Wil]iarns to appear
before the United States District Court to answer charges of violation of Supervised Release.

 

Bond

ORDER OF COURT l declare under penalty of perjury that the
A foregoing is true and correct.

Considered and ordered 13 day Execute

of V\ , 20 _?_ and ordered on

 

filed and made a part of the records in

the above cast …

United States District Judge Place: MemDhis. TN /BD l

    

United States Probation

 

RE: Nic las ._ illiams _
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RESPEC'I`FULLY PRESEN'I`ING PETITION FOR AC'I`ION OF C()URT FOR CAUSE AS FOLLOWS:

The Defendant Has Violated The Following Conditions Of His Supervised Release'.

The defendant shall not illegally possess a controlled substance.

Mr. Williams submitted urine screens which tested positive for Marijuana on February 24, and June 5, 2003, October
9, and November 18, 2004. Mr. Williams voluntarily admitted the use of Marijuana on .luly i7, 2003.

The defendant shall participate in drug treatment/testing as directed by Probation Officer.

During Supervised Release, Mr. Wi]liams was required to participate in drug treatment and screening Excluding a
period of incarceration and a hospitalization, Mr. Williarns failed to attend forty- four (44) counseling sessions and
failed to submit to drug screening on thirty-seven (37) occasions He was discharged from drug treatment on
December 29, 2004, for failure to comply with drug treatment

The defendant shall report to the Probation ()fficer and shall submit a truthful and complete written report
within the first five ((I days of each month.

Mr. Williams failed to keep scheduled appointments on December 2, 2004, January 12 and March 4, 2005. Mr.
Williams has failed to submit monthly report forms for the months of November and December 2004. He also failed
to submit monthly report forms for January, February and March of 2005.

The defendant shall work regularly at lawful occupations unless excused by the Probation Oflicer for
schooling, training or other acceptable reasons.

To this date, Mr. Williams failed to secure employment He has been unemployed since February 21, 2003.
The defendant shall not commit another federal, state or local crime.

On April 15, 2004, Memphis Police Officers responded to a complaint of shots being fired at 999 Rayner. The victim,
Anderson Fullilove, advised officers that his vehicle which was parked in front of 999 Rayner had been vandalized
by Nicholas Williams. lt is alleged that Mr. Williams walked up to the parked vehicle belonging to Mr. Fullifove,
pulled a gun from his pocket and fired one shot breaking the rear windows. On May 13, 2004, a warrant was issued
for Mr. Williams’ arrest charging him with Vandalism $500 or Less. On May 16, 2004 the warrant was executed
On February 2, 2005 this matter was nolle processed in Division 10 of the She]by County Cn`minal Court On March
18, 2005, USPO Brown spoke With the victim, Anderson Fullilove, who advised that he witnessed Mr. Williams
in possession of a firearm which he discharged thus vandalizing his vehicle.

The defendant shall not possess a flrearm, destructive device of any other dangerous weapon.

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Fullilove, pulled a gun from his pocket and fired one shot breaking the rear windows On March 18, 2005, USPO
Brown spoke with the victim, Anderson Fullilove, who advised that he witnessed Mr. Williams in possession of a
firearm which he discharged thus vandalizing his vehicle.

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l. Defendant Nicholas D. Williams, (750 Ge(ggia, Memphis, TN 38106)
2. Docket Number (Year-Sequence-Defendant No.) 2:00CR20138-04
3. District/Office Western District of Tennessee (Memphis)
4. Original Senteuce 05 l 06 l 2_002___
Dafe month day year
{lf different than abovc):
5. Original District/Oflice
6. Original Docket Number (Year~Sequence-Defendant No.)
7. List each violation and determine the applicable grade {M §7Bl.l }:
Violation{s) Grade
0 Illegally possessed/use of a controlled substance C
0 Fai!ure to participate in drug treatment/testing C
0 Failure to Report to the Probation ()ffice C
0 Failure to obtain employment C
0 New Criminal Conduct: Vandalism $500 or Less C
0 Felon in Possession of Firearm B
o
M
8. Most Serious Grade of Violation (s_@ §7B l .l(b)) B
9. Criminal History Category §§ §7]31.4(a))74 lll
10. Range of imprisonment (§§e_ §'FB l .4(a)) 8-14 months
*Being originally convicted of a Class B Felony, the statutory maximum term of imprisonment is three (3) years; 18 USC
§3583(e)(3).
II. Sentencing Options for Grade B and C Violations Only (Check the appropriate box):

{ } {a)lfthe minimum term of imprisonment determined under §TB] .4 (Terrn of Imprisonment) is at least one month but nor
more than six months, §7Bl .3(c)(l) provides sentencing options to imprisonment

{ } (b)lf the minimum term of imprisonment determined under §?Bl .4 (Terrn of lmprisonment) is more than six months but
not more than ten months, §7Bl .3(c)(2) provides sentencing options to imprisonment

{x } (c)lf the minimum term of imprisonment determined under §7B l .4 (Term of Imprisonment) is more than ten months, no
sentencing options to imprisonment are available

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

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Defendant Nicholas D. Williams

12. Unsatisiied Conditions of Original Sentence

List any restitution, fine, community confinement home detention, or intermittent confinement previously imposed in connection
with the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {@ §7B1.3(d)} :

 

 

 

 

 

 

Restitution ($) l, 638.25 Community Confinement N/A

Fine ($) N/A Home Detention N/A

Other N/A lntermittent Confinement N/A
l3. Supervised Release

if probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions of §§SD l .l-
1-3 {B §§7131-3(§)(1)}-

Term: to years
If supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible
upon revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon release
from imprisonment {@ 18 U.S.C. §3583(e) and §'IBl .3(g)(2)}.
Period of supervised release to be served following release from imprisonment

14. Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

15. Official Detention Adjustment {B §731.3(e)}: months days

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit`

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 304 in
case 2:00-CR-20138 was distributed by faX, mail, or direct printing on
May lS, 2005 to the parties listedl

 

 

Gregory Krog

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lony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DlSTRlCT COURT

